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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

___________________________________________________________________ X
KNIGHTS OF COLUMBUS, Civil Action No.:

Plaintiff,

-against-
INTERPLEAI)ER COMPLAINT

l\/IARCIA CHIAPPONE AND ANDREA HINES
COLLINS,

Defendants.

______________________________________________ X

Plaintiff, Knights of Columbus, by and through its counsel, Rivkin Radler LLP, as and

for its Interpleader Complaint, alleges;
NATURE ()F ACTION

l. Knights of Columbus brings this interpleader action to determine the proper
beneficiary of a whole life insurance contract it issued on the life of David T. Mereau, Which had
death proceeds of $27,802.89 payable as of his date of death (the “Death Proceeds”).

THE PARTIES

2. Knights of Columbus is a fraternal benefit society organized and existing under
the laws of the State of Connecticut With its principal place of business at l Colurnbus Plaza,
New Haven, Connecticut, 06510. Knights of Columbus is a citizen of the State of Connecticut.

3. Upon information and belief, David T. Mereau (the “Decedent”), prior to and at
his death, was a resident of the State of New York, residing in Monroe County, NeW York.

4. Upon information and belief, defendant, Marcia Chiappone, is a citizen of the
State of New York, residing in Monroe County, New York at 448] Buffalo Road, Churchville,

New York 14428.

 

 

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5. Upon information and belief, defendant Andrea Hines Collins, is a citizen of the

Commonwealth of Virginia, residing at 13955 Beech Drive, Lanexa, Virginia 23089.
JURISDICTION AND VENUE

6. This Court has jurisdiction over the subject matter of this interpleader action
under 28 U.S.C. § 1335 because the Death Proceeds exceed $500 and there are two or more
adverse claimants of diverse citizenship Who are claiming entitlement to the Death Proceeds.

7. Venue is proper in this district pursuant to 28 U.S.C. § 1397 since defendant
Marcia Chiappone resides in this judicial district and pursuant to 28 U.S.C. § l39l since a
substantial part of the events giving rise to the adverse claims occurred in this judicial district.

FACTS SUPPORTING INTERPLEADER

8, On or about August 9, 1996, Knights of Colnmbus issued whole life insurance
contract number l98l445 insuring the life of the Decedent in the face amount of $25,000 (the
“Contract”).

9. ln his application for the Contract dated August 9, 1996, the Decedent designated
his sister, Marcia E. Chiappone, as the primary beneficiary, and his estate as the contingent
beneficiary of the Death Proceeds.

l(). On July 24, 2004, the Decedent completed a beneficiary designation form in
Which he designated Faye M. Bryant, his friend, as the primary beneficiary, and Marcia E.
Chiappone as the contingent beneficiary

ll. On October 9, 2006, the Decedent completed a beneficiary designation form in
Which he designated Andrea Anderson Hines Collins, his girlfriend, as the primary beneficiary,

and Marcia E. Chiappone as the contingent beneficiary,

 

 

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12. On July 9, 2007, the Decedent completed a beneficiary designation form again
designating Andrea Anderson Hines Collins as the primary beneficiary and Mai'cia E. Chiappone
as the contingent beneficiary

13. On July 31, 2017, the Decedent completed a beneficiary designation form (the
“2017 Designation”) in which he designated Mai'cia E. Chiappone as the primary beneficiary and
Shawna Ann Mereau, his daughtei', as the contingent beneficiary

14. The 2017 Designation provides that:

Any previous beneficiary designation and any optional mode of
settlement elected with respect to the death proceeds payable under
the above referenced certificate are hereby revoked.

15. Upon information and belief, the Decedent died on August 7, 2017.

16. As a result of the Decedent’s death, the Death Proceeds became due and payable
to the proper beneficiary

17. Marcia Chiappone submitted a Claimant’s Statement dated August 24, 2017 by
which she sought payment of the Death Proceeds.

18. By letter dated September 2, 2017, Andrea Hines Collins contested payment of
the Death Proceeds to 1\/Iarcia Chiappone claiming that the Decedent lacked capacity to execute
the 2017 Designation. In the September 2, 2017 letter, Andrea Hines Collins requested payment
of the Death Proceeds as the prior designated primary beneficiary

19. After receiving the September 2, 2017 letter, Knights of Columbus contacted the

adverse claimants to see if there could be an amicable resolution of their competing claims and

was advised that such a resolution was not possible.

 

 

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20. There are issues of fact and law that Knights of Columbus cannot determine
without the risk of being subjected to costs and expenses in defending itself in a multiplicity of
suits or the possibility of multiple payment of the Death Proceeds.

21. Knights of Columbus claims no title to, or interest in, the Death Proceeds, other
than the recovery of its attorneys’ fees, costs, and disbursements, and is ready and willing to pay
the Death Proceeds to the person or persons entitled to it, but Knights of Columbus is unable to
make that determination without exposing itself to double or multiple liability on account of the
competing claims made by the defendants

22. Knights of Columbus is ready, willing, and hereby offers to deposit the Death
Proceeds, together with accrued interest, if any, into the Court, or with a person duly authorized
by the Court to receive it.

WHEREF()RE, Knights of Columbus requests that the Court enter judgment

A. Directing Knights of Columbus to pay the Death Proceeds, together with accrued
interest, if any, into this Court or with a person duly authorized by this Court to
receive it;

B. Directing defendants to interplead their rights to such sum;

C. Restraining and enjoining defendants, and each of them, from instituting any action
against Knights of Columbus with respect to the Contract and/or for recovery of the
Death Proceeds or any part thereof;

D. Discharging Knights of Columbus from any and all liability to defendants arising out
of the matters herein set forth and dismissing Knights of Columbus with prejudice
from this action upon payment of the Death Proceeds, with accrued interest, if any,
into this Court or as otherwise directed by the Court;

E. Awarding Knights of Columbus its costs, disbursements and attorney’s fees; and

F. For such other and further relief as this Court deems proper.

Dated: Uniondale, New York
February 21, 2018

 

 

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